              Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 1 of 8




 1                                                        The Honorable Michelle L. Peterson
 2
 3
 4
 5
 6
 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9
10
11    UNITED STATES OF AMERICA,                         No.     MJ20-350

12                          Plaintiff,                  COMPLAINT for VIOLATION
13                     v.                               18 U.S.C. § 113(a)(3)
14    GARY RIGGS,
15                         Defendant.
16
17         BEFORE the Honorable Michelle L. Peterson, United States Magistrate Judge,
18 U.S. District Courthouse, Seattle, Washington.
19         The undersigned complainant being duly sworn states:
20                                          COUNT 1
21                              Assault with a Dangerous Weapon
22         On or about May 2, 2020, within the Western District of Washington, at the
23 Federal Detention Center at SeaTac, a facility within the special maritime and territorial
24 jurisdiction of the United States, GARY RIGGS did intentionally assault another person,
25 D.S., with a dangerous weapon, that is, a sharpened metal rod, screw, or similar
26 implement, with intent to do bodily harm.
27         All in violation of Title 18, United States Code, Sections 113(a)(3) and 7.
28
     Riggs Complaint - 1                                                    UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
                 Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 2 of 8




 1          The undersigned complainant, Shawna McCann, Special Agent, being first duly
 2 sworn on oath, hereby deposes and says:
 3                               TRAINING AND EXPERIENCE
 4          1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
 5 have been employed with the FBI since September, 2017. I am currently assigned to the
 6 Seattle Field Division where I am a member of the violent crime, gang, and Transnational
 7 Organized Crime – Western Hemisphere squad. As such, I am an investigative law
 8 enforcement officer of the United States within the meaning of 18 U.S.C. § 2510(7). As
 9 an FBI Special Agent covering violent crimes, I have investigated a variety of violent
10 crimes occurring in the context of a federal penal institution as part of the FBI’s Special
11 Territorial Jurisdiction cases. In this capacity, I investigate, inter alia, violations of Title
12 18, United States Code, Section 113 (assaults within special maritime and territorial
13 jurisdiction) and related offenses. I have specific experience in investigating assaults and
14 other violent crimes committed in a federal penal institution, specifically the Federal
15 Detention Center at SeaTac, Washington (“FDC-SeaTac”).
16          2.      During my career as a Special Agent, I have participated in narcotics
17 investigations (e.g., heroin, cocaine, marijuana, and methamphetamine), murder for hire
18 investigations, and other violent crime investigations that have resulted in the arrest of
19 individuals and the seizure of evidence, including illicit narcotics and/or narcotics-related
20 evidence and the forfeiture of narcotics-related assets. I have been involved in the service
21 of federal and state search warrants as part of these investigations.
22          3.      I have written affidavits in support of court-authorized federal warrants and
23 orders in the Western District of Washington for Global Positioning Device (“GPS”)
24 tracking of telephones, Pen Register/Trap and Trace, and search warrants. Additionally, I
25 have testified in grand jury proceedings, written investigative reports, and conducted and
26 participated in numerous interviews of inmate victims, inmate witnesses, inmate subjects,
27 and staff at FDC-SeaTac, which have provided me with a greater understanding of
28 assaults and other violent crime offenses committed in federal detention centers.
      Riggs Complaint - 2                                                      UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
      USAO No. 2020R00493
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
                Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 3 of 8




 1         4.       The facts set forth in this Affidavit are based on my personal knowledge;
 2 knowledge obtained from others during my participation in this investigation, including
 3 other law enforcement officers; review of documents and records related to this
 4 investigation, including medical records; communications with others who have personal
 5 knowledge of the events and circumstances described herein; and information gained
 6 through my training and experience. Because this Affidavit is submitted for the limited
 7 purpose of establishing probable cause in support of the Criminal Complaint, it does not
 8 set forth each and every fact that I or others have learned during the course of this
 9 investigation.
10                                  PURPOSE OF AFFIDAVIT
11         5.       This Affidavit is made in support of a Complaint against GARY RIGGS for
12 one count of Assault with a Dangerous Weapon, in violation of Title 18, United States
13 Code, Sections 113(a)(3) and 7.
14                         INVESTIGATION AND PROBABLE CAUSE
15         6.       The Sea-Tac Federal Detention Center is a federal detention center operated
16 by the United States Bureau of Prisons. It is on federal property in SeaTac, Washington,
17 within the Western District of Washington, and the federal government and the State of
18 Washington have concurrent legislative jurisdiction over the facility. Accordingly, it is
19 within the special maritime and territorial jurisdiction of the United States.
20         7.       On May 2, 2020, GARY RIGGS was an inmate at FDC-SeaTac; he was in
21 custody for a supervised release violation that is still pending. Due to a broken right ankle
22 for which he had had surgery, GARY RIGGS had metal crutches to help him walk during
23 recovery.
24         8.       On that date, D.S. was also an inmate housed at FDC-SeaTac, and he was
25 assigned to share cell 15 with GARY RIGGS. D.S. was in custody for charges pending in
26 another district.
27         9.       On or about May 2, 2020, at approximately 9:00 p.m., FDC-SeaTac
28 personnel responded to a duress alarm in cell 15. Upon arrival, Officer Wharton observed
     Riggs Complaint - 3                                                    UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
              Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 4 of 8




 1 GARY RIGGS holding a sharpened metal rod, which he described as approximately five
 2 inches long, in his right hand. GARY RIGGS said, “I’m going to kill him.” At the same
 3 time, Wharton saw D.S. sitting on his top bunk, bleeding from his face.
 4         10.    Wharton activated his body alarm to call for assistance, and began giving
 5 GARY RIGGS verbal commands in order to take control of the situation. Rather than
 6 comply, GARY RIGGS walked towards D.S. and made a number of stabbing motions
 7 with the metal rod towards D.S.’s face. GARY RIGGS then surrendered the metal rod to
 8 Wharton and complied with commands to lay down with his hands behind his back.
 9 Responding staff entered the cell and removed both GARY RIGGS and D.S.
10         11.    D.S. was taken to see medical staff at FDC-SeaTac for evaluation. He
11 complained of pain in his right shin, right forearm, and right eye. Medical staff observed
12 a puncture wound on the back of D.S.’s head which was bleeding; swelling to his right
13 eyelid; a scrape above his right eye; scrapes and a puncture wound on his back; scrapes
14 on both arms; and swelling on his right forearm and right shin. D.S. reported that GARY
15 RIGGS had hit him with a sharp object.
16         12.    D.S. was taken to Harborview Medical Center for further evaluation. He
17 told medical personnel that he had been assaulted in his cell by his cellmate, who used a
18 sharpened crutch to strike him multiple times on the right side of his body. Medical
19 personnel observed blood on the back of D.S.’s head and neck, and on his lower back.
20 They documented a puncture wound on the back of D.S.’s neck at the base of his skull
21 about .5 cm deep, with an accompanying bruise; three puncture wounds on his right arm;
22 another puncture wound on his right flank; as well as a number of scrapes, bruises, and
23 welt marks on various parts of his body.
24         13.    Medical staff at FDC-SeaTac also evaluated GARY RIGGS. He had no
25 injuries except for a swollen right ankle. This was consistent with the pre-existing injury
26 for which he had the crutches.
27         14.    I interviewed D.S. at FDC-SeaTac on May 6, 2020. D.S. reported that he
28 had been cellmates with GARY RIGGS for approximately two weeks prior to May 2,
     Riggs Complaint - 4                                                   UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
              Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 5 of 8




 1 2020, and that they had had no apparent problems. On May 2, 2020, D.S. was asleep on
 2 the top bunk, and awakened when GARY RIGGS began hitting and stabbing him with an
 3 object. D.S. held up his hands and arms to protect himself, but did not strike at GARY
 4 RIGGS himself. GARY RIGGS stabbed D.S. in the arms, back, torso, and head, and also
 5 beat him with the object. At some point during the assault, D.S. reported that GARY
 6 RIGGS hit the emergency alarm button; D.S. did not know why GARY RIGGS did so.
 7         15.    I interviewed GARY RIGGS at FDC-SeaTac on May 14, 2020. Before
 8 doing so, I read him his Miranda warnings, which he acknowledged understanding and
 9 waived. GARY RIGGS first told me about his ankle surgery, and that he had been
10 cellmates with D.S. for approximately a week prior to the assault.
11         16.    GARY RIGGS said that a few days before the assault, he began to make an
12 improvised knife using one of the screws from his metal crutches. He sharpened the
13 screw on the concrete wall of the cell. He either carried the improvised knife concealed
14 on his person or hid it in his mattress.
15         17.    GARY RIGGS acknowledged using the sharpened screw to stab D.S.
16 several times, and also using his crutches to beat D.S. He said he had had no issues with
17 D.S. prior to the assault. He claimed that, on May 2, 2020, D.S. had said, “Fuck you punk
18 bitch” to GARY RIGGS, and either touched or grabbed his ankle. GARY RIGGS
19 responded by pulling out the improvised knife and assaulting D.S. by repeatedly stabbing
20 him. He said that he intended to kill D.S., and that he would have continued to stab D.S.
21 until he was dead had the alarm not been triggered. He also admitted that D.S. did not
22 fight back.
23         18.    GARY RIGGS also told me that he would try and kill any other inmate
24 who disrespected him. He claimed to have killed a number of people over the course of
25 his life, starting when he was 16 years old in 1992. GARY RIGGS was in fact charged
26 with homicide in federal court in 1997 for killing his grandfather. That charge was later
27 dismissed, then revived a number of years later after GARY RIGGS confessed to the
28
     Riggs Complaint - 5                                                  UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
              Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 6 of 8




 1 murder. He was ultimately convicted of voluntary manslaughter and sentenced to 90
 2 months in prison. He also has several convictions for assault.
 3         19.    GARY RIGGS said that he would try to kill anyone who disrespected him,
 4 including his probation officer and some other specific individuals whom he refused to
 5 identify so that they could not be warned. There is reason to believe these threats are
 6 sincere. On November 30, 2017, GARY RIGGS was charged in the Eastern District of
 7 California with one count of Mailing Threatening Communications in violation of 18
 8 U.S.C. § 876(c). He pled guilty to that offense on July 17, 2018. In doing so, he admitted
 9 that, while an inmate at Federal Correctional Institution Mendoza, he had mailed a letter
10 to a probation officer threatening to injure other individuals, including C.C., a probation
11 officer in the Eastern District of Washington, where he had been prosecuted for the
12 murder. His letter said that he was going to “take out” C.C. and “hurt and kill” a few
13 people, whom he identified. He acknowledged that he intended to seriously threaten those
14 people. He was sentenced to 30 months of imprisonment followed by 36 months of
15 supervised release.
16         20.    On May 6, 2020, I took custody of the implement that GARY RIGGS used
17 to assault D.S. I have also reviewed photographs of that implement. It appears to have
18 been fashioned from a nail or screw. It is made of some kind of metal, is about six inches
19 long, and the last half inch or so appears to have had threads that were worn or filed off to
20 make the tip sharper. The implement was partially wrapped with a piece or scrap of
21 brown cloth. A photograph of the implement is below.
22 / / /
23 / / /
24
25
26
27
28
     Riggs Complaint - 6                                                   UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
               Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 7 of 8




 1

 2
 3
 4

 5
 6
 7
 8
 9
10
11

12
13
14
15
16
17                                         CONCLUSION
18          21.     Based on the above facts, I respectfully submit that probable cause exists
19 that GARY RIGGS committed the offense of Assault with a Dangerous Weapon, in
20   violation of Title 18, United States Code, Sections 113(a)(3) and 7.
21
22
23
24
25          Based on the Complaint and Affidavit, to which the above-named       agent provided
26   a sworn statement attesting to the truth of the contents of such, the Court hereby finds
27   that there is probable cause to believe the defendant, GARY RIGGS, committed the
28
      Riggs Complaint - 7                                                    UNITED STATES ATTORNEY
      USAO No. 2020R00493                                                   700 STEWART STREET, SUITE 5220
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
             Case 2:20-cr-00123-RSL Document 1 Filed 06/16/20 Page 8 of 8




1 offense set forth in the Complaint, Assault with a Dangerous Weapon, in violation of
2 Title 18, United States Code, Sections 113(a)(3) and 7.
3
4         DATED this 16th day of June, 2020.
5
6
7
                                                  The Honorable Michelle L. Peterson
8
                                                  United States Magistrate Judge
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Riggs Complaint - 8                                               UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     USAO No. 2020R00493
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
